     Case 2:21-cv-01530-AMM Document 221 Filed 08/05/23 Page 1 of 4            FILED
                                                                      2023 Aug-05 PM 03:38
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA
                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

BOBBY SINGLETON, et al.,            )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                        Case No.: 2:21-cv-1291-AMM
                                    )
WES ALLEN, in his official          )
                                          THREE-JUDGE COURT
capacity as Alabama Secretary of    )
State, et al.,                      )
                                    )
     Defendants.                    )


EVAN MILLIGAN, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )
                                        Case No.: 2:21-cv-1530-AMM
                                    )
WES ALLEN, in his official          )
                                          THREE-JUDGE COURT
capacity as Alabama Secretary of    )
State, et al.,                      )
                                    )
     Defendants.                    )


MARCUS CASTER, et al.,              )
                                    )
     Plaintiffs,                    )
                                    )
v.                                  )   Case No.: 2:21-cv-1536-AMM
                                    )
WES ALLEN, in his official          )
capacity as Secretary of State of   )
Alabama, et al.,                    )
                                    )
     Defendants.                    )
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Before MARCUS, Circuit Judge, MANASCO and MOORER, District Judges.

BY THE COURT:

                                      ORDER

      To promote expeditious proceedings for the remedial hearing and preliminary

injunction hearing in these three cases, the Court issues the following order.

      The parties are ORDERED to do the following:

      1.     Prepare multiple hard copies of all exhibits and demonstratives that the

parties intend to use during the preliminary injunction hearing for each Judge on this

three-judge court, as specified below. The exhibits should be file-stamped, double-

sided, tabbed, and securely bound (whether in a binder or with coil binding) with an

index. Any depositions must include the entire deposition, in travel transcript format

consisting of no more than four pages of deposition text per 8 ½ by 11-inch page, as

well all exhibits to the depositions. Any demonstratives should be tabbed and

securely bound with an index and should be exchanged among counsel for all parties

before they are sent to the members of the court. The binders shall be sent to each

judge at the addresses listed below as soon as practicable but to arrive no later than

11:00 a.m. CDT (12:00 p.m. EDT) on FRIDAY, AUGUST 11, 2023.

             a.    Hon. Stanley Marcus

                   99 N.E. 4th Street
                   Miami, Florida 33132
                   (two copies)


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             b.    Hon. Stanley Marcus

                   United States District Court
                   Northern District of Alabama
                   Attn: Judge Stanley Marcus (visiting judge)
                   1729 5th Ave. North, Suite 5B
                   Birmingham, AL 35203
                   (two copies)

             c.    Hon. Anna M. Manasco

                   United States District Court
                   Northern District of Alabama
                   Attn: Judge Anna M Manasco
                   1729 5th Avenue North, Suite 5B
                   Birmingham, AL 35203
                   (all three copies)

             d.    Hon. Terry F. Moorer

                   United States District Court
                   Northern District of Alabama
                   Attn: Judge Terry F. Moorer (visiting judge)
                   1729 5th Avenue North, Suite 4B
                   Birmingham, AL 35203
                   (two copies)

             e.    Hon. Terry F. Moorer

                   United States District Court
                   Southern District of Alabama
                   155 St. Joseph Street
                   Mobile, AL 36602
                   (one copy)

      2.     The parties shall file with the Court not later than AUGUST 10, 2023

a list of all counsel who will attend and participate in the hearing so that the Court

may arrange appropriate seating in the courtroom.
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      3.    Alert the Court not later than AUGUST 10, 2023, by an e-mail to Judge

Manasco’s chambers (Manasco_Chambers@alnd.uscourts.gov), with a copy to all

counsel, if counsel intends to use any audio-visual equipment during the hearing

other than the courtroom document camera.

      DONE and ORDERED this 5th day of August, 2023.




                                  STANLEY MARCUS
                                  UNITED STATES CIRCUIT JUDGE



                                  _________________________________
                                  ANNA M. MANASCO
                                  UNITED STATES DISTRICT JUDGE




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